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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 21-CR-60039-AHS

  UNITED STATES OF AMERICA

  vs.

  CLEON KIRLEW,

                            Defendant.
                                           /

          MOTION FOR PROPOSED ORDER MANDATING NO RESTITUTION

          COMES NOW, the United States of America, by and through the undersigned Assistant

  United States Attorney, hereby moves this Honorable Court to enter an order mandating that there

  is to be no restitution in this case.



                                                     Respectfully submitted,

                                                     JUAN ANTONIO GONZALEZ
                                                     UNITED STATES ATTORNEY

                                               By:   Brooke Elise Latta
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